Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 1 of 59 PageID.385




                             EXHIBIT A




 09500000\002268\115353161\V-1
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 2 of 59 PageID.386



 PAMELA W. BUNN                 6460
 DENTONS US LLP
 1001 Bishop Street, Suite 1800
 Honolulu, Hawai‘i 96813
 Telephone: (808) 524-1800
 Facsimile: (808) 524-4591
 E-mail: pam.bunn@dentons.com

 Attorney for Amicus Curiae
 EVERYTOWN FOR GUN SAFETY

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI‘I

 TODD YUKUTAKE and DAVID                 Civil No. CV19-00578-JMS-RT
 KIKUKAWA,
                                         BRIEF OF EVERYTOWN FOR
                 Plaintiffs,             GUN SAFETY AS AMICUS
       v.                                CURIAE; APPENDIX

 CLARE E. CONNORS, in her official       Summary Judgment Motion Hearing:
 capacity as the Attorney General of     October 19, 2020, at 10:00 a.m.
 the State of Hawaii, and the CITY and   Chief Judge J. Michael Seabright
 COUNTY OF HONOLULU,
                                         Trial Date: January 12, 2021
                 Defendants.
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 3 of 59 PageID.387



                                      TABLE OF CONTENTS
 I.     INTEREST OF AMICUS CURIAE ................................................................1
 II.    INTRODUCTION ...........................................................................................2
 III.   UNDER HELLER AND NINTH CIRCUIT PRECEDENT, GUN
        REGULATIONS WITH A LONGSTANDING HISTORICAL
        PEDIGREE ARE CONSTITUTIONAL .........................................................3
 IV.    THE LONGSTANDING HISTORICAL PEDIGREE OF IN-PERSON
        INSPECTION REQUIREMENTS ESTABLISHES THE
        CONSTITUTIONALITY OF H.R.S. § 134-3.................................................5
        A.      Laws Imposing Stringent In-Person Gun Inspection Requirements
                Were Widespread in 1791 .....................................................................5
        B.      In-Person Inspection And Registration Under Hawai‘i Law Sits
                Firmly Within This Longstanding Historical Tradition. .....................12
 V.     CONCLUSION..............................................................................................14




                                                        i
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 4 of 59 PageID.388



                                     TABLE OF AUTHORITIES

                                                                                                         Page(s)

 Federal Cases
 Ass’n of N.J. Rifle & Pistol Clubs, Inc. v. Att’y Gen. N.J.,
    910 F.3d 106 (3d Cir. 2018) ................................................................................. 2

 District of Columbia v. Heller,
    554 U.S. 570 (2008) ....................................................................................3, 4, 11

 Duncan v. Becerra,
   --- F.3d ----, 2020 WL 4730668 (9th Cir. Aug. 14, 2020).................................. 13

 Fyock v. City of Sunnyvale,
   779 F.3d 991 (9th Cir. 2015) .......................................................................... 4, 13

 Heller v. District of Columbia,
   670 F.3d 1244 (D.C. Cir. 2011) .......................................................................... 13

 Heller v. District of Columbia,
   801 F.3d 264 (D.C. Cir. 2015) ............................................................................ 14

 Kachalsky v. Cty. of Westchester,
   701 F.3d 81 (2d Cir. 2012) ................................................................................. 13

 Peruta v. Cty. of San Diego,
    824 F.3d 919 (9th Cir. 2016) ................................................................................ 4

 Rupp v. Becerra,
   401 F. Supp. 3d 978 (C.D. Cal. 2019) .................................................................. 2

 Silvester v. Harris,
     843 F.3d 816 (9th Cir. 2016) ................................................................................ 4

 United States v. Chovan,
   735 F.3d 1127 (9th Cir. 2013) .............................................................................. 4

 United States v. Marzzarella,
   614 F.3d 85 (3d Cir. 2010) ................................................................................. 11

 United States v. Skoien,
   614 F.3d 638 (7th Cir. 2010) ............................................................................... 3

                                                         ii
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 5 of 59 PageID.389



 Federal Statutes
 Act of May 8, 1792, Chapter 33, § 10, 1 Stat. 271, 273 ...................................... 7, 11

 Constitutional Provisions
 Second Amendment ..........................................................................................passim

 State Statutes
 H.R.S. § 134-3....................................................................................................3, 4, 5

 United States Selective Service System, Military Obligation:
   The American Tradition, v. 2, pts. 2-14 (1947) ...........................................passim

 Other Authorities
 J. Lindgren & J. Heather, Counting Guns in Early America, 43 Wm.
     & Mary L. Rev. 1777, 1871 (2002) .................................................................... 12

 A. Winkler, The Secret History of Guns, The Atlantic (Sept. 2011) ....................... 11

 J. Blocher & D.A.H. Miller, The Positive Second Amendment 136
     (2018) .................................................................................................................. 13

 M. Levenson, California’s Ban on High-Capacity Magazines Violates
    the Second Amendment, Court Rules, N.Y. Times (Aug. 14, 2020) .................. 13




                                                               iii
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 6 of 59 PageID.390



      BRIEF OF EVERYTOWN FOR GUN SAFETY AS AMICUS CURIAE

 I.    INTEREST OF AMICUS CURIAE
       Amicus curiae Everytown for Gun Safety Action Fund (formally, Everytown

 for Gun Safety Action fund, hereafter, “Everytown”) is the nation’s largest gun-

 violence-prevention organization, with nearly six million supporters across the

 country, including thousands in Hawai‘i. Everytown was founded in 2014 as the

 combined efforts of Mayors Against Illegal Guns, a national, bipartisan coalition of

 mayors combating illegal guns and gun trafficking, and Moms Demand Action for

 Gun Sense in America, an organization formed after the murder of twenty children

 and six adults in an elementary school in Newtown, Conn. Everytown also

 includes a large network of gun-violence survivors who are empowered to share

 their stories and advocate for responsible gun laws.

       Everytown’s mission includes defending gun laws through the filing of

 amicus briefs providing historical context, social science and public policy

 research, and doctrinal analysis that might otherwise be overlooked. Everytown

 has filed such briefs in numerous Second Amendment cases, including cases in this

 District. See, e.g., Teter v. Connors, No. 1:19-cv-00183 (D. Haw.), Dkt. 47;

 Roberts v. Suzuki, No. 1:18-cv-00125 (D. Haw.), Dkt. 62-1; Young v. Hawaii, No.

 12-17808 (9th Cir.); Silvester v. Harris, No. 14-16840 (9th Cir.). Several courts,

 again including in this District, have expressly relied on Everytown’s amicus briefs
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 7 of 59 PageID.391



 in deciding Second Amendment and other gun cases. See Teter v. Connors, --- F.

 Supp. 3d ---, 2020 WL 2476225, at *11 (D. Haw. May 13, 2020), appeal docketed,

 No. 20-15948 (9th Cir. May 19, 2020); Ass’n of N.J. Rifle & Pistol Clubs, Inc. v.

 Att’y Gen. N.J., 910 F.3d 106, 112 n.8 (3d Cir. 2018); Rupp v. Becerra, 401 F.

 Supp. 3d 978, 991-92 & n.11 (C.D. Cal. 2019), appeal docketed, No. 19-56004

 (9th Cir. Aug. 28, 2019); see also Rehaif v. United States, 139 S. Ct. 2191, 2210-11

 nn.4 & 7 (2019) (Alito, J., dissenting).

 II.   INTRODUCTION
       Hawai‘i protects its citizens from gun violence through permit-to-acquire

 and registration laws for handguns. Plaintiffs allege that these laws violate the

 Second Amendment. As the State explains in its brief, however, the permitting

 scheme does not regulate constitutionally-protected conduct and, in any event,

 survives the applicable standard of scrutiny (see State Br. 12-18); the registration

 law does not on its face require in-person inspection (see id. at 18-20); and even if

 it did require such inspection, it would not fall within the Second Amendment’s

 scope and would, in any event, survive scrutiny (see id. at 20-27).

       Everytown submits this amicus brief in support of the State to address a

 single, narrow issue: even assuming that Hawai‘i’s registration law requires in-

 person inspection, there is a long history of regulation supporting such a

 requirement. Not only does Hawai‘i’s challenged registration law itself date back



                                            2
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 8 of 59 PageID.392



 to the early twentieth century (see id. at 8), but any inspection requirement in the

 law would be part of a history stretching all the way back to the founding era.

 Militia laws in the earliest days of the United States required members to equip

 themselves with specific firearms and ammunition and to present themselves and

 their weapons for inspection on a regular basis. In light of these laws, ordinary

 citizens in the founding era would have considered in-person inspection

 requirements to be well within the government’s powers—and thus, under District

 of Columbia v. Heller, 554 U.S. 570 (2008), such requirements fall outside the

 scope of the Second Amendment. Plaintiffs’ challenge to H.R.S. § 134-3 on this

 basis should therefore fail.

 III.   UNDER HELLER AND NINTH CIRCUIT PRECEDENT, GUN
        REGULATIONS WITH A LONGSTANDING HISTORICAL
        PEDIGREE ARE CONSTITUTIONAL
        In Heller, the Supreme Court held that the Second Amendment protects an

 individual right to bear arms. It emphasized, however, that the right “is not

 unlimited,” and that “nothing in [its] opinion should be taken to cast doubt on

 longstanding prohibitions on the possession of firearms.” Id. at 626. Those

 longstanding prohibitions include “laws imposing conditions and qualifications on

 the commercial sale of arms,” which are “presumptively lawful regulatory

 measures.” Id. at 626-27 n.26. Such “exclusions need not mirror limits that were on

 the books in 1791.” United States v. Skoien, 614 F.3d 638, 641 (7th Cir. 2010) (en



                                           3
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 9 of 59 PageID.393



 banc) (upholding federal law prohibiting the possession of firearms for persons

 convicted of misdemeanor domestic violence crimes); see Fyock v. City of

 Sunnyvale, 779 F.3d 991, 997 (9th Cir. 2015) (noting that even “early twentieth

 century regulations might…demonstrate a history of longstanding regulation”).

       In the wake of Heller, courts in the Ninth Circuit—and, indeed, in every

 circuit to have addressed the issue—apply a two-step analysis to Second

 Amendment claims. The first step is to ask “whether the challenged law burdens

 conduct protected by the Second Amendment.” United States v. Chovan, 735 F.3d

 1127, 1136 (9th Cir. 2013). Courts examine “whether there is persuasive historical

 evidence showing that the regulation does not impinge on the Second Amendment

 right as it was historically understood.” Silvester v. Harris, 843 F.3d 816, 821 (9th

 Cir. 2016). Where such evidence exists, the law should be upheld because it falls

 outside the Second Amendment’s scope; there is no need to proceed to the step-

 two scrutiny analysis. Id.; see also Peruta v. Cty. of San Diego, 824 F.3d 919, 942

 (9th Cir. 2016) (en banc) (holding, based on historical analysis alone, that law

 prohibiting persons from carrying concealed weapons, subject to a license-based

 exception, did not violate the Second Amendment).

       As the following section explains, there is abundant, persuasive historical

 evidence showing that any in-person inspection requirement in H.R.S. § 134-3

 does not impinge on the Second Amendment right as it was historically



                                           4
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 10 of 59 PageID.394



 understood. Accordingly, this Court should reject Plaintiffs’ challenge to the law at

 the first step of the Second Amendment analysis.1

 IV.   THE LONGSTANDING HISTORICAL PEDIGREE OF IN-PERSON
       INSPECTION REQUIREMENTS ESTABLISHES THE
       CONSTITUTIONALITY OF H.R.S. § 134-3

       A.     Laws Imposing Stringent In-Person Gun Inspection
              Requirements Were Widespread in 1791
       Around the time of the Second Amendment’s ratification in 1791, and in the

 decades preceding, laws requiring inspection of personal weapons existed at the

 federal level and throughout the original states. These laws were part of militia

 requirements, which mandated that individuals subject to militia duty—typically,

 white men in a specified age range2—must acquire their own arms and

 ammunition. The laws described the weapons required and provided for regular

 inspection by militia officers.


       1
         If the Court were to choose to proceed to the second step, it should uphold
 the law for the reasons set out in Defendant’s brief. See State Br. 24-27. As
 Defendant explains, the appropriate standard is intermediate scrutiny and
 Hawai‘i’s law survives such scrutiny. See id.
       2
          See, e.g., United States Selective Service System, Military Obligation: The
 American Tradition, v. 2, pt. 3, pp. 26-27 (1947) (republishing An Act for
 Establishing the Militia, Del. June 4, 1785) (Delaware’s militia composed of white
 males between 18 and 50 years of age) (App’x p. A6); id. at pt. 4, pp. 144-45
 (republishing An Act for Revising and Amending the Several Militia Laws of this
 State, Ga., Feb. 26, 1784) (Georgia’s militia composed of every free male between
 16 and 50 years of age) (App’x p. A8). The Selective Service System’s
 compilation of early American militia laws is available at
 https://catalog.hathitrust.org/Record/100889778/Home, and the sections cited in
 this brief are compiled in the attached appendix.

                                           5
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 11 of 59 PageID.395



       Weapons requirements were specific. Connecticut’s 1784 law, for example,

 required “a well fixed Musket, the Barrel not less than three Feet and [a] Half long,

 and a Bayonet fitted thereto, with a Sheath and Belt or Strap for the same, with a

 Ram-rod, Worm, Priming-wire and Brush, [and] one Cartouch-box carrying

 sixteen rounds of Cartridges, made with good Musket Powder and Ball, fitting his

 Gun.”3 A 1776 Massachusetts law required “a good fire-arm, with a steel or iron

 ramrod and a spring to retain the same, a worm, priming-wire and brush, and a

 bayonet fitted to his gun, … and a cutting-sword, or a tomahawk or hatchet, a

 pouch containing a cartridge-box that will hold fifteen rounds of cartridges, at

 least, a hundred buck-shot, a jack-knife, … one pound of powder, [and] forty

 leaden balls.”4 South Carolina law in 1778 required “one good musket and

 bayonet, or a good substantial smooth bore gun and bayonet, … or one good rifle-

 gun and tomahawk or cutlass,” with appropriate ammunition.5




       3
       Id. at pt. 2, p. 256 (republishing An Act for Forming, Regulating and
 Conducting the Military Force of this State, Conn., 1784) (App’x p. A4).
       4
         Id. at pt. 6, p. 223 (republishing An Act for Forming and Regulating the
 Militia within the Colony of the Massachusetts Bay, in New England, and for
 Repealing All the Laws Heretofore Made for that Purpose, Jan. 22, 1776) (App’x
 p. A14).
       5
         Id. at pt. 13, pp. 67-68 (republishing An Act for the Regulation of the
 Militia of this State; and for Repealing Such Laws as Have Hitherto Been Enacted
 for the Government of the Militia, S.C., Mar. 28, 1778) (App’x pp. A31-A32).

                                           6
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 12 of 59 PageID.396



       Militia laws also provided for in-person inspection to ensure that militiamen

 were prepared and properly armed if called up to fight. In particular, they required

 members to attend regular musters with their arms and ammunition, which officers

 would inspect. The 1792 federal Militia Acts, for example, required “the brigade-

 inspector to attend the regimental and battalion meeting of the militia composing

 their several brigades, during the time of their being under arms, to inspect their

 arms, ammunition and accoutrements.”6 Massachusetts required that “every captain

 … shall call the train-band of his company together four days in a year, … for the

 purpose of examining their arms and equipments, and instructing them in military

 exercises.”7 In Virginia, “every militiaman” had to “furnish himself with a good

 rifle, if to be had,” or certain identified alternative weapons, “and appear with the

 same at the place appointed for mustering.”8 And in Connecticut, commanding

 officers had to “cause the arms and ammunition of all under his command … to be

 reviewed …, by requiring such persons to bring forth their arms and ammunition at




       6
           Act of May 8, 1792, ch. 33, § 10, 1 Stat. 271, 273.
       7
          Military Obligation: The American Tradition, v. 2 at pt. 6, p. 264
 (republishing An Act for Regulating and Governing the Militia of the
 Commonwealth of Massachusetts, and for Repealing All Laws Heretofore Made
 for that Purpose, 1789) (App’x p. A17).
       8
         Id. at pt. 14, p. 274 (republishing An Ordinance for Raising and
 Embodying a Sufficient Force, for the Defense and Protection of this Colony, Va.,
 July 17, 1775) (App’x p. A35).

                                            7
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 13 of 59 PageID.397



 a certain time and place.”9 If a member failed to bring the required firearm, or if it

 was in defective condition, he would be fined.10 Musters where weapons would be

 inspected occurred regularly—for example, twice per year in Connecticut and

 North Carolina;11 three times per year in Rhode Island;12 four times per year in




       9
         Id. at pt. 2, pp. 201-02 (republishing An Act in Further Addition to an Act
 Entitled An Act for the Forming and Regulating of the Militia and for the
 Encouragement of Military Skill for the Better Defence of this Colony, Conn., Oct.
 11-25, 1775) (App’x pp. A1-A2).
       10
          Id., p. 202 (“[I]f any of the persons aforesaid shall … be deficient in arms
 or ammunition, such persons respectively shall pay the same fine … for deficiency
 of arms or ammunition[.]”) (App’x p. A2); see also, e.g., id. at pt. 4, p. 146
 (republishing An Act for Revising and Amending the Several Militia Laws of this
 State, Ga., Feb. 26, 1784) (any member who “shall neglect or refuse to appear
 comple[te]ly armed and furnished with one rifle musket, fowling-piece or fusee fit
 for action, … at any general musters” shall be fined up to five shillings) (App’x p.
 A10); id. at pt. 13, p. 103 (reprinting An Act for the Regulation of the Militia of this
 State, S.C., Mar. 26, 1784) (any person summoned to muster who “shall wilfully
 neglect to turn out at a regimental muster, properly armed and accoutred,” shall be
 fined up to four dollars) (App’x p. A33).
       11
          Id. at pt. 2, pp. 201-02 (republishing An Act in Further Addition to An Act
 Entitled An Act for the Forming and Regulating of the Militia and for the
 Encouragement of Military Skill for the Better Defence of this Colony, Conn., Oct.
 11-25, 1775) (App’x pp. A1-A2); id. at pt. 10, p. 51 (republishing An Act to
 Establish a Militia for the Security and Defence of this Province, N.C., Mar. 2,
 1774) (App’x p. A-24).
       12
          Id. at pt. 12, pp. 227-230 (republishing An Act to Organize the Militia of
 this State, R.I., 1798) (App’x pp. A26-A29).

                                            8
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 14 of 59 PageID.398



 New Jersey;13 and between four and six times per year in Massachusetts.14 Some

 states also required officers to visit militia members’ homes to inspect their

 weapons.15

       In a number of states and under federal law, furthermore, not only were

 militia members’ firearms inspected, they were also recorded in a register.

 Massachusetts’s 1776 law, for example, provided that “the clerk of each and every

 company of said militia shall, once every six months …, take an exact list of his

 company, and of each man’s equipments.”16 Maryland’s 1756 law required militia

 officers to “make d[i]ligent Search and Enquiry” in their districts and to report

 “what Number of Arms and what Quantity of Ammunition they … discover and


       13
          Id. at pt. 8, pp. 70-71 (republishing An Act for the Regulating, Training,
 and Arraying of the Militia, and for providing more effectually for the Defence and
 Security of the State, N.J., Jan. 8, 1781) (App’x pp. A21-A22).
       14
          Id. at pt. 6, p. 264 (republishing An Act for Regulating and Governing the
 Militia of the Commonwealth of Massachusetts, and for Repealing All Laws
 Heretofore Made for that Purpose, 1789) (App’x p. A17).
       15
          Id. at pt. 8, p. 70 (republishing An Act for the Regulating, Training, and
 Arraying of the Militia, and for providing more effectually for the Defence and
 Security of the State, N.J., Jan. 8, 1781) (requiring captains to order sergeants, once
 every four months, “to call at the Place of Abode of each Person enrolled as
 aforesaid, for the Purpose of examining the State of his Arms, Accoutrements, and
 Ammunition, of which the Sergeant shall make exact Report to the Officer issuing
 the Orders”) (App’x p. A21).
       16
          Id. at pt. 6, p. 224 (republishing An Act for Forming and Regulating the
 Militia within the Colony of the Massachusetts Bay, in New England, and for
 Repealing All the Laws Heretofore Made for that Purpose, Jan. 22, 1776) (App’x
 p. A15).

                                           9
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 15 of 59 PageID.399



 the Condition and kind of such Arms and Ammunition and who shall be possessed

 thereof distinctly in Writing,” and it required “all and every Person” to produce

 their arms and ammunition on demand for this recording, on penalty of a five

 pound fine.17 New Hampshire’s 1776 law required the clerk of each militia

 company, once every six months, to “take an exact List of his Company, and of

 each Man’s Equipments respectively, and present the same to the Captain or

 commanding Officer thereof.”18 Virginia’s 1784 law required commanding officers

 to send a list of militia members to the Governor, including an account of

 members’ weapons and their condition.19 New Jersey had a similar requirement.20

 And the federal Militia Acts required the brigade inspector “to make returns … at

 least once in every year, of the militia of the brigade to which he belongs, reporting




       17
         Id. at pt. 5, p. 85 (republishing An Act for Regulating the Militia of the
 Province of Maryland, May 22, 1756) (App’x p. A12).
       18
          Id. at pt. 7, p. 83 (republishing An Act for Forming and Regulating the
 Militia within the State of New Hampshire in New England, and for Repealing all
 the Laws Heretofore Made for that Purpose, Sept. 19, 1776) (App’x p. A19).
       19
         Id. at pt. 14, pp. 426-27 (republishing An Act for Amending the Several
 Laws for Regulating and Disciplining the Militia, and Guarding Against Invasions
 and Insurrections, Va., Oct. 18, 1784) (App’x pp. A37-A38).
       20
          Id. at pt. 8, pp. 70-71 (republishing An Act for the Regulating, Training,
 and Arraying of the Militia, and for providing more effectually for the Defence and
 Security of the State, N.J., Jan. 8, 1781) (requiring sergeants to inspect arms in
 members’ homes and make “exact report” to commanding officer, who must in
 turn “make a Return of … his Company, and a State of their Arms, Accoutrements
 and Ammunition” to superiors) (App’x pp. A21-A22).

                                           10
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 16 of 59 PageID.400



 therein the actual situation of the arms, accoutrement, and ammunition, of the

 several corps.”21

        “Constitutional rights are enshrined with the scope they were understood to

 have when the people adopted them[.]” Heller, 554 U.S. at 634-35. The ubiquity of

 these militia inspection laws means that ordinary citizens in the founding era

 would have understood a requirement to present arms for inspection to be well

 within the government’s power—and thus outside the scope of the Second

 Amendment. See United States v. Marzzarella, 614 F.3d 85, 91 (3d Cir. 2010) (“If

 the Second Amendment codified a pre-existing right to bear arms [as Heller

 announced], it codified the pre-ratification understanding of that right ….

 Therefore, if the right to bear arms as commonly understood at the time of

 ratification did not bar [a certain set of restrictions or limitations], it follows that by

 constitutionalizing this understanding, the Second Amendment carved out these

 limitations from the right.”).22



        21
           Act of May 8, 1792, ch. 33, § 10, 1 Stat. 271, 273; see also A. Winkler,
 The Secret History of Guns, The Atlantic (Sept. 2011), available at
 https://bit.ly/3l6n0fE (“A 1792 federal law mandated every eligible man to
 purchase a military-style gun and ammunition for his service in the citizen militia.
 Such men had to report for frequent musters—where their guns would be inspected
 and, yes, registered on public rolls.”).
        22
           To be sure, not every gun owner would have been required to join the
 militia, and thus required personally to maintain and present the specified arms for
 inspection, given that states typically confined the militia to white men in a
 specified age range. See supra n.2. But most guns in the founding era were owned

                                             11
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 17 of 59 PageID.401



       B.     In-Person Inspection and Registration Under Hawai‘i Law Sits
              Firmly Within This Longstanding Historical Tradition.
       The historical tradition of requiring in-person inspection of firearms

 provides a robust historical basis for Hawai‘i’s law. Just as militia officers would

 inspect (and frequently record) members’ personal weapons to ensure that they

 comported with militia weaponry requirements, Hawai‘i’s law (as construed by

 Plaintiffs) requires police officers to inspect and register guns in-person to verify

 that they comport with the information provided in the registration form. In fact, by

 mandating regular and repeated in-person firearm inspections, these historical laws

 imposed a much greater burden on militia-eligible gun owners than would such a

 comparatively modest one-time check.

       To be sure, Hawai‘i’s challenged gun inspection law exists in a different

 context than the historical laws discussed above—as part of a background check

 and registration process, rather than as part of ensuring a functional state militia.




 by white adult men. See generally Winkler, supra n. 21 (explaining that founding-
 era authorities disarmed many groups and, “[f]or those men who were allowed to
 own guns,” mandated purchase, inspection, and registration as part of militia duty);
 J. Lindgren & J. Heather, Counting Guns in Early America, 43 Wm. & Mary L.
 Rev. 1777, 1871 (2002) (finding 4.4 times greater likelihood of male than female
 gun ownership in Virginia and Maryland probate estates, 1740-1810). And the
 Supreme Court has never suggested—nor would it make any sense to require—that
 a law had to be universally applicable in the founding era before a court can
 conclude that ordinary citizens in that era would have considered it to be within the
 government’s powers.

                                           12
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 18 of 59 PageID.402



 But, as the Ninth Circuit has recognized, see Fyock, 779 F.3d at 997,23 a law need

 not precisely match a set of founding-era regulations to be part of a longstanding

 historical tradition. Cf. Kachalsky v. Cty. of Westchester, 701 F.3d 81, 91 (2d Cir.

 2012) (upholding law regulating public carry of firearms, which has “a number of

 close and longstanding cousins” in historical gun regulation); J. Blocher & D.A.H.

 Miller, The Positive Second Amendment 136 (2018) (“[L]ower courts have used

 analogy to extend Heller’s exclusions beyond those specifically identified in the

 case.”).24 Moreover, a central function of Hawai‘i’s law and the historical laws is

 the same: to ensure that the gun an individual possesses matches the applicable

 specifications—of the registration in Hawai‘i’s case and of the militia laws in the




       23
          A Ninth Circuit panel recently indicated that, in undertaking the step-one
 historical analysis, a court should “look[] for evidence showing whether the
 challenged law traces its lineage to founding-era or Reconstruction-era
 regulations,” Duncan v. Becerra, --- F.3d ----, 2020 WL 4730668, at *10 (9th Cir.
 Aug. 14, 2020)—which is precisely the sort of evidence set forth in this amicus
 brief. (At the time of this filing, it is unclear whether the California Attorney
 General will seek rehearing en banc in Duncan. See, e.g., M. Levenson,
 California’s Ban on High-Capacity Magazines Violates the Second Amendment,
 Court Rules, N.Y. Times (Aug. 14, 2020), available at https://nyti.ms/3avMGNV.)
       24
           Even the small number of dissenting judges who would prefer to interpret
 the Second Amendment to bar any firearm regulation not grounded in “text,
 history, and tradition”—a view contrary to the two-part Second Amendment test
 that is the law of the Ninth Circuit and every other circuit that has weighed in—
 acknowledge that “the proper interpretive approach” to the historical inquiry
 involves “reason[ing] by analogy from history and tradition.” See, e.g., Heller v.
 District of Columbia, 670 F.3d 1244, 1275 (D.C. Cir. 2011) (Kavanaugh, J.,
 dissenting) (emphasis added).

                                          13
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 19 of 59 PageID.403



 historical cases. See Response to Interrogatory No. 6, Dkt. 55-2 at 6-7 (“In-person

 handgun registrations can prevent fraud and reduce or eliminate discrepancies.”);

 State Br. 26 (“[The] government[’s] objective in requiring people to bring the

 firearm to the registration is that it ensures that the registration information is

 accurate, it ensures that the firearm complies with Hawaii law, and it confirms the

 identity of the firearm so as to facilitate tracing by law enforcement[.]”); see

 generally Heller v. District of Columbia, 801 F.3d 264, 285 (D.C. Cir. 2015)

 (Henderson, J., concurring in part and dissenting in part) (in-person inspection and

 registration process is needed to “verify that the application information is correct”

 (internal quotation marks and citations omitted)). In other words, in each case, the

 requirements exist to ensure that people own the specific firearm they are supposed

 to. Such a requirement was understood to be permissible in 1791, and thus it does

 not implicate a Second Amendment right today.

 V.     CONCLUSION
        This Court should enter summary judgment in favor of the State and against

 the Plaintiffs.

        DATED: Honolulu, Hawai‘i, _____________________.



                                                 PAMELA W. BUNN

                                                 Attorney for Amicus Curiae
                                                 EVERYTOWN FOR GUN SAFETY


                                            14
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 20 of 59 PageID.404




            Appendix of Excerpts of Early American Militia Laws
  Republished in Volume 2 (Part --) of United States Selective Service System,
             Military Obligation: The American Tradition (1947)

                                          TABLE OF CONTENTS

                                                                                                                    Page

 Connecticut
 An Act in Further Addition to an Act Entitled an Act for the Forming and
 Regulating the Militia and for the Encouragement of Military Skill for the
 Better Defence of this Colony, Oct. 11-25, 1775 (Part 2) ...................................... A1

 An Act for Forming, Regulating and Conducting the Military Force of this
 State, 1784 (Part 2).................................................................................................. A3

 Delaware
 An Act for Establishing the Militia, June 4, 1785 (Part 3) ..................................... A5

 Georgia

 An Act for Revising and Amending the Several Militia Laws of this State,
 Feb. 26, 1784 (Part 4).............................................................................................. A7

 Maryland
 An Act for Regulating the Militia of the Province of Maryland,
 May 22, 1756 (Part 5) ........................................................................................... A11

 Massachusetts
 An Act for Forming and Regulating the Militia within the Colony of the
 Massachusetts Bay, in New England, and for Repealing all the Laws
 Heretofore Made for that Purpose, Jan. 22, 1776 (Part 6) .................................... A13

 An Act for Regulating and Governing the Militia of the Commonwealth of
 Massachusetts, and for Repealing all Laws Heretofore Made for that Purpose,
 1789 (Part 6).......................................................................................................... A16


                                                            -1-
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 21 of 59 PageID.405




 New Hampshire
 An Act for Forming and Regulating the Militia within the State of New Hampshire
 in New England, and for Repealing all the Laws Heretofore Made for that
 Purpose, Sept. 19, 1776 (Part 7) ........................................................................... A18

 New Jersey
 An Act for the Regulating, Training, Arraying of the Militia and for providing
 more effectually for the Defence and Security of the State,
 Jan. 8, 1781 (Part 8) .............................................................................................. A20

 North Carolina
 An Act to Establish a Militia for the Security and Defense of this Province,
 Mar. 2, 1774 (Part 10) ........................................................................................... A23

 Rhode Island
 An Act to Organize the Militia of this State, 1798 (Part 12) ................................ A25

 South Carolina
 An Act for the Regulation of the Militia of this State; and for Repealing Such
 Laws as have Hitherto Been Enacted for the Government of the Militia,
 Mar. 28, 1778 (Part 13) ......................................................................................... A30

 An Act for the Regulation of the Militia of this State,
 Mar. 26, 1784 (Part 13) ......................................................................................... A33

 Virginia
 An Ordinance for Raising and Embodying a Sufficient Force, for the Defence
 and Protection of this Colony, July 17, 1775 (Part 14) ........................................ A34

 An Act for Amending the Several Laws for Regulating and Disciplining the Militia
 and Guarding Against Invasions and Insurrections, Oct. 18, 1784 (Part 14) ....... A36




                                                          -2-
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 22 of 59 PageID.406




                                                                                  A1
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 23 of 59 PageID.407




                                                                                  A2
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 24 of 59 PageID.408




                                                                                  A3
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 25 of 59 PageID.409




                                                                                  A4
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 26 of 59 PageID.410




                                                                                  A5
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 27 of 59 PageID.411




                                                                                  A6
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 28 of 59 PageID.412




                                                                                  A7
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 29 of 59 PageID.413




                                                                                  A8
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 30 of 59 PageID.414




                                                                                  A9
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 31 of 59 PageID.415




                                                                              A10
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 32 of 59 PageID.416




                                                                              A11
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 33 of 59 PageID.417




                                                                              A12
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 34 of 59 PageID.418




                                                                              A13
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 35 of 59 PageID.419




                                                                              A14
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 36 of 59 PageID.420




                                                                              A15
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 37 of 59 PageID.421




                                                                              A16
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 38 of 59 PageID.422




                                                                              A17
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 39 of 59 PageID.423




                                                                              A18
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 40 of 59 PageID.424




                                                                              A19
    Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 41 of 59 PageID.425




                          A C T S Assfy V. INDEPENDENCE,
|
              166                                                                                                                              A. D. 1781.

                                                                          C         H      A           P.           CCXLII.                     See in general




                                                                                                                                                                             the
                               * An A CT for




                                                                           the




                                                                                                                                                                    of
                                                   regulating, training, and arraying




                                                                                                                                                         the
                                 Militia, and/or providing more effectually for      Defence




                                                                              the
                                                                 of
                                  and Security                                      State.




                                                                                                                                                          8,
                                                                                                                                  Paſſed Jan.                      1781.

              Preamble.                      HER EAS the ſeveral Laws heretofore made for the Government
                                           the Militia, and for the Purpoſe       direéting the internal
                                              of




                                                                                                                             of
                                         of



                                                      the Preſervation and Safety     the ſame, have been




                                                                                                                                       of
                               Force
                                                                  to to
                                        the State
                               found inadequate       theſe important Purpoſes, and have become, from
                               their Number and Diverſity, diſficult           underſtood and cxccuted;




                                                                                                                       be
                                                                                                                  to
                               Therefore,

              Militia, how’                                                                !!!,
                                                            IT




                                                               the Cºuncil and General Aſſembly




                                                                                                                                                                    of
                                          BE      ENACT                                              this
                                             1.




                                  Seč7.
                                                                                    D
                                                                                    F



              to be divided.
                                               herely Enaº, lyth. Authority      the ſºme, That, from




                                                                                                                             of
                               State, and
                                                  it
                                                       is




                                                            this A&, the Militia




                                                                                                                                        of
                               and after the Publication                             this State ſhall be
                                                                                    of




                                                                                                                                                                             of
                                                               follows: The Militia
                                                                                          as



                               divided into three Brigades,




                                                                                                                                               of
                                                                                        the Counties
                               Bergen,        Eſſex, Morris, Suſſex,                                 Mid
                                                                                                        of




                                                                                                                                   of




                                                                                                                                                                    of
                                                            and     thoſe Parts    the Counties
                                                                      lying
                                                                                    on




                                                                                                                                                              of
                               dleſex and Somerſet         the Northern and Eaſtern Side         Raritan
                               River, and                        the ſame, ſhall compoſe the upper Bri
                                                                                                  of
                                                   ºf




                                            the South Branch
                               gade the Militia                       ºilouth, Hunter ſon and Burlington,
                                                                 of




                                                                                                          of




                                                   the Counties
                                                                                                       of 'ſ
                                      of ;




                                                                           Middleſex and Solieſt lying on
                                                                      of




                               and      thoſe Parts     the Cour.ties
                                                                       the ſaid ſilver Riritc., and




                                                                                                                                                                    of
                                                                                                   of




                               the Southern and Weſtern Side                                           the
                                                   the ſame, ſhall compoſe the middle Brigade; and the
                                                            of




                               South Branch
                                                             Glolº ºfter, Chical, Capc-May and Cumberland,
                                             of




                                                                                 of




                               VMilitia     the Counties
                               ſhall compoſe the lower Brigade.
                                                                                                            cºr
                                                   BE




                                                                                                                  ED, That each Brigade ſhall


                                                                                                                                                                              be
                                                            IT




              Brigades, by               AND                       FURTHER                     FNA
                                  2.




                         z
                                                        by




              whom to '..e
                                                                  Brigadier                       ColonclCommºdant, who ſhall                                           be
                                                                                         is or




              commanded. commanded                                                                  the
                                                             a




                               eldeſt Colonel, and     there  no Colonel, the eldeſt Lieutenaut-Colonel
                                                                      if




                                                                                                                                                                        by


                                     the Regiments which compoſe thc Brigade,
                                                                                                                                          be
                               of




                                                                                                                                  to




                                                                                     determined     the
                                        their ſeveral Commiſſions;     which Brigadiers, Coloncls,
                                         of




                               Date
                                                                                                                                                                              a or



                               Lieutenant-Colonels Commandant, ſhall                         appoint
                                                                                                                       be




                                                                             empowered
                                                                                                                                                         to




                               Major                           Major     the Militia, and receive Pay
                                                                                                                  of




                                         Brigade,
                                             of




                                                      rank
                                                                      to



                                                                                          as
                                on




                                                    his Brigadier, Colonel    Lieutenant-Colonel Com
                                                                  of




                                                                                                                        or




                                  the Certificate
                               mandant.

                                                     FURTHER ENACTED, That each Regiment                   Bat
                                                                                                                                                                    or
                                                            IT
                                                    be BE




              Regiments,              AND
                                    3.




              how to be
              officered.       talion ſhall     officered with one Lieutenant-Colonel (except where
                                                                                                                                                                             a




                                           already appointed) and one Major; and alſo with                Adju
                                                                                                                                                                   an




                               Colonel
                                              is




                               tant, who ſhall        taken from the Line, and rank           Firſt Lieutenant,
                                                                 be




                                                                                                                                               as




                                                                                                       Captain;
                                                                           be




                                                                        the Pay and Rations
                                                                                                                                                     of




                               and when
                                                   in




                                                                                                       to




                                               Service     entitled
                                                                                                                                                          a




                               one Quartermaſter, who ſhall alſo           taken from the Line, rank with
                                                                                                            be




                               Lieutenants,    and receive like Pay and Rations when              Service; and
                                                                                                                                                    in




                               when Circumſtances will admit,            Surgeon; which Regimental Staff
                                                                                                       a
                                                                                         by




                                                                                             Majority    them;
                                                            be




                                                                                                                                                                of




                               Officers ſhall      appointed       the Field Officers
                                                                                                                                       or or
                                                                                                                                            a




                               and the Commanding Officer             each Regiment         Battalion ſhall ap
                                                                                               of




                                                                           Always, That where two Majors
                                                                                                            Ed




              I'roviſo.        point Sergeant-Major.          PRovid
                                         a




                                                                                             any Regiment
                                                                                                                                                                              or




                               have been heretofore appointed and commiſſioned
                                                                                                                                          in




                                                             continued, but Vacancies happening
                                                                              be




                               Battalion both ſhall
                                                                                                                                                                        in




                                                                                                            the
                                          Second Major, ſhall not hereafter           ſupplied.
                                                                                                                            be
                                             of




                               Office

                                                                                                                                                                    AND
                                                                                                                                                               4.




                                                                   Seca Supplement                     this A&, Chap. CCCXIX.
                                                                                                  to
                                                             *
                                         N.




                                              J.-General                                                                                        Wilson, 1784; Act,
                                                                                                                                 L.,




                                                                          Assembly, Trenton;
                                                                                                                       &

                                                                                                                                        P.




                               259.
                                                                                                                   A




                                                                                                                                                                                     67
                                                                           Jan.
                                                                                        8,




                                                                                               1781, pp. 166–181.




                                                                                                                                                                                          A20
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 42 of 59 PageID.426




                         WILLIAM LIVINGSTON,                                                                       Eſquire,               Governor.                          169


                  Members of the Legiſlative-Council and General Aſſembly, the Judges
                  and Juſtices of the Supreme and Inferior Courts, the Judge of the Court
                  of Admiralty, the Attorney-General, the Secretary, the Treaſurer, the
                  Auditor of Accounts, the Clerks of the Council and General Aſſembly,
                  the Clerks of the Courts of Record, the Governor's private Secretary,
                  the Superintendant of Purchaſes, the County Contračtors, Poſtmaſters,
                  Miniſters of the Goſpel of every Denomination, the Preſident, the Pro
                  feſſors and Tutors of Colleges, Sheriffs, Coroners, one Conſtable for each
                  Townſhip, to be determined by the Court of Quarter-Seſſions of the
                  County, two Ferrymen for each publick Ferry on the Delaware below
                  the Falls at Trenton, and one for every other publick Ferry in this State,
                  Slaves, and every Perſon exempted by any particular Law of this State,
                  ſhall not be borne on any ſuch Liſts or Rolls, or be ſubječi to Military
                  Duty.

                      I 1. AND BE IT ENACTED, That every Perſon enrolled as aforeſaid, Arms andAc
                                                                                                 coutrements
                   ſhall conſtantly keep himſelf furniſhed with a good Muſket well fitted          be procur




                                                                                                                                                                   to
                   with a   Bayonet,  a  Worm,   a Cartridge-Box,   twenty-three    Rounds of ed    by each
                                                                                                 Man.
                   Cartridges fized to his Muſket, a Priming-Wire, Bruſh,




                                                                                                                                          fix
                                                                                      Flints,




                                                                                                                                                           a
                   Knapſack and Canteen, under the Forfeiture          Seven Shillings and Six Penalty on




                                                                                                              of
                                         Muſket, and One Shilling for Want                       Neglect.




                                                                                                                                 of




                                                                                                                                                           be of
                                                                                  any other
                                                of




                   pence for Want
                                                     a




                   the aforeſaid Articles, whenever called out     Training     Service;




                                                                                                                             or
                                                                                                         to




                                                                                                                                                      to
                                                                         PR ov1DED ALways, Proviſo.
                                                                be as




                   recovered and applied      herein after   direéted.
                                                                                            as is




                   That       any Perſon        furniſhed     aforeſaid with       good Rifle
                                if




                                                                                                                                 a
                   Gun, the Apparatus neceſſary for the ſame, and         Tomahawk,        ſhall




                                                                                                                                                it
                                                                                                                    a
                    be




                                                           of




                       accepted     Lieu    the Muſket and the Bayonet and other Articles
                                           in




                   belonging thereto.

                                          ENACTED, That each Perſon enrolled
                                           BE




                                                                                           aforeſaid, Ammunition
                                                IT




                       12. AND                                                                                                            as




                                                                                                                                                                        be
                                                                                                            keptby




                                                                                                                                                                   to
                                                                                                                       of




                   ſhall alſo keep                                               good merchantable
                                                                            of




                                         his Place      Abode one Pound
                                                at




                                                                                                      each Man.
                   Gunpowder, and three Pounds                                            Rifle, and
                                                                                 of




                                                            Ball fized     his Muſket
                                                                                                                                          or
                                                                                                              to




                                                                     Three Shillings,
                                                                                                                                           be
                                      of




                                                                                                 of




                   for Want       either ſhall forfeit the Sum
                                                                                                                                     to




                                                                                           recovered
                                                                                                      Proviſo.
                   and applied                                      Prov IDED ALw AYs, That
                                                                                                                                                           if
                                           as




                                      herein after     directed.
                                                                        is




                                                                                              by




                   any Perſon enrolled        aforeſaid ſhall,         Majority     the commiſſion
                                                           as




                                                                                                                            of
                                                                                                     a




                                     the Company
                    ed




                                                                                                    he




                                                                                                                                  be




                                                                      may belong,
                                          of




                       Officers                           which                         deemed and
                                                                             to




                   adjudged unable         purchaſe the Arms, Accoutrements, and Ammuniti
                                                     to




                                                       exempted from the Forfeiture for any De
                    on




                                                          he



                                                                        be




                        above ſpecified,     ſhall
                   ficiency therein until                                they are provided for him.
                                                               he




                                                                                                         or




                                                can procure them,

                                                                                                                                                                   Sergeants
                                                                                                   Com examine and
                                           BE

                                                 of IT




                                                          FURTHER ENAct ED, That the Captain
                                                                                                                                                                               to



                     13. AND
                                                                                                                                                or




                   manding Officer                        each Company ſhall, once every four Months, or report State
                                                                                                               of in




                                                                                                                                                                        Arms, &c.
                                                                                                                                                                   of
                                                                                            of




                                                                                                                                                            as




                          Sergeant     call               Abode     each Perſon enrolled
                                                 to



                                                                 at




                   der                        the Place
                            a




                   aforeſaid, for the Purpoſe    examining the State     his Arms, Accou
                                                                                                                        of
                                                                        of




                   trements, and Ammunition,       which the Sergeant ſhall make exact Re
                                                                             of




                   port    the Officer iſſuing the Orders, and      the Captain ſhall negle&t his
                            to




                                                                                                     if




                   Duty herein       ſhall forfeit Six Pounds; and         any Sergeant ſhall ne Penalty for
                                            he




                                                                                                               if




                                                                                                   Neglect.
                   gle&t his Duty
                                                                                 he




                                       this Reſpect     ſhall forfeit and pay for each Offence
                                                in




                                                                             he he be
                                     of




                                                                                                                             of as




                   the Sum     Three Pounds,          recovered and applied
                                                                        to




                                                                                   herein after
                                                                                                                                                            is




                   directed; and for this Service      ſhall receive the Sum       Three Shillings Wages for
                                                                                                   this Service.
                   and Nine-pence for each Day                  neceſſarily engaged therein,
                                                                                              be




                                                      ſhall
                                                                                                                                                            to
                                     by




                                                  the Regiment,          Order from the Captain
                    or be




                                                                                                         on
                                                                                                               an




                      paid
                                                                    of of




                               the Treaſurer
                      Commanding Officer         the Company, certifying the Number          Days
                                                                                                                                                 of




                                           the Duty, the Treaſurer taking the Sergeant's Re
                                                      of on




                   the Sergeant was
                                on




                    ceipt            the Back              the Order for the ſame.
                                                                                        Z




                                                                                                                                           14. AND
                                                                                        z




        70




                                                                                                                                                                                    A21
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 43 of 59 PageID.427




          17o       A CTS               PAssed                  V.   INDEPENDENCE,                                                A. D. 1781.

          Days of muſ
                             14. AND BE IT FURTHER ENACTED, That each Company ſhall aſ
          tº ring in
          Companies.      ſemble, properly armed and accoutred, not later than ten o’Clock in the
                          Forenoon of the firſt Monday in the Months of April and September every
                          Year, at ſuch Place as the Commanding Officer of the Company ſhall
                          appoint, and there ſpend the Remainder of the Day in Training and Ex
          Penalty in      erciſe, and that the Penalty in caſe of Abſence ſhall be as follows: On
          caſe of Ab
          ſcucc.          a Captain, Three Pounds; on a Lieutenant or Enſign, Forty Shilling; ;
                          on a Non-commiſſioned Officer or Private, any Sum not under Five
                          Shillings nor more than 1%rty Shillings ; and in due Proportion for at
                          tending later than the Hour above limited.




                                                                                            cºr
          Days of Re
                            15. AND BE IT FURTHER ENA                                                    Bat




                                                                                                                                                          or
                                                                      ED, That each Regiment
          gimental
                        talion ſhall aſſemble, properly armed and accoutred, twice                      Year,




                                                                                                                                                     in
          Muſlers.




                                                                                                                                                          a
                        videſicet, On the firſt Monday          June and November,          ſuch Hour and

                                                                                in




                                                                                                                                  at
                                  the Field Officers,        Majority       them, ſhall appoint, for the




                                                                                                       of
                                                                           or
                                   as




                        Place
                                                                                a
                                       Training and Exerciſe; and the Colonel                 Commanding
                                         of




                        Purpoſe




                                                                                                                                       or
                        Officer, after parading his Regiment            Battalion, ſhall require from the

                                                                                              or
                        Captain       Commanding Officer           each Company                     the com




                                                                                                                                                of
          Returns of
                                                                                       of
                                                                                       Return
                                        or




                                                                                                                            a
          Cornramiesto
                                                                                              his Company,




                                                                                                                                      of
          be requircd   miſſioned and Non-commiſſioned Officers and Privates
          and 1...ade.
                                            their Arms, Accoutrements,
                                                   of




                                                                              and Ammunition




                                                                                                                                                                   if
                        and      State                                                                 and




                                                                                                                                                     ;
                               a




                        the Captain        Commanding Officers           Companics ſhall negle&t           re




                                                                                                                                                              or
                                                                                                  of
                                                  or




          For ſcitures. fuſe     make ſuch Return, they ſhall forfeit for each Neglect                Refuſal




                                                                                                                                                 on or
                               to




                                       Six Pound;    and the Penalty                                 the Day
                                         of




                                                                                                                            of
                                                                                                       be in



                        the Sum                                             caſe       Abſence
                                                                 ;




                            Regimental Training




                                                                                                                                                                   or
                          of




                                                        Review ſhall           follows: On        Colonel
                                                                      or




                                                                                                               as




                                                                                                                                            a
                        Lieutenant-Colonel Commandant, Ten Poind; on Lieutenant-Colonel,
                                                                                                                ;

                                                                                                                            a


                        Eight Pound;              Major, Six Pound:            Captain       Adjutant, Five
                                                           on




                                                                                                         or on




                                                                                                                                      or
                                                  ;




                                                                                                  ;
                                                            a




                                                                                                               a




                        Pound;            Lieutenant, Quartermaſter,          Enſign, Three Pound;
                                             on




                                                                                                           on
                                   ;




                                                                                                                                                              ;
                                                  a




                        Non-commiſſioned Officers and Privates, any Sum not leſs than Ten Shil
                        ſings nor more than Three Pound;                   due Proportion for attending
                                                                                                   in




                                                                    and
                                                                                        ;




                                                              the Order for Mecting
                                                                                                                                                be


                        later than the Hour ſpecified
                                                                                in




                                                                                                                                       to



                                                                                                   recovered
                                                                                                                                  ;
                                                                                                         PR




          Proviſo.      and applied                                         ovIDED        Lw Ys, That
                                                                                                                                                                   if
                                                  as




                                           herein after    directed.
                                                                           is




                                                                                                                                 A


                                                                                                                                            A




                                                   the Companies compoſing any Regiment                  Bat
                                                                                                                                                          or
                                                                of




                        the local Situation
                                    be



                                                       as




                        talion                may render                           aſſemble the Whole
                                                                                                                     to




                                                                                                                                                                   at
                                    ſuch                       inconvenient
                                                                                it




                                                                                                               be




                        the ſame Time and Place,          ſhall and may         lawful for the Field-Offi
                                                                          it




                                    Majority                                                   Battalion by
                                                                of




                                                                                                                                       or




                        cers,                     them,     aſſemble ſuch Regiment
                                  or




                                                                               to
                               at a




                        Parts,     different Times, and        different Places, cach Part being aſſem
                                                                                in




                        bled twice in a Year.


                                                 FURTHER EN Act ED, That the Colonel
                                                                                                                                            or
                                                       IT




          Returns of         16. AND BE                                                         Command
          Regimentsto
                          ing Officer      each Regiment                                            his Re
                                              of




                                                                                                                                                     of




                                                                Battalion ſhall make Returns
                                                                                 or




          be made and
                                                                         their Arms, Accoutrements and
                                                                                              of




          when, and       giment       Battalion, and      the State
                                                                      of
                                        or




          Penaltics for
                          Ammunition,                             July and December, yearly, and every
                                                                                    of




                                               the Months
                                                       in




          Neglect.
                          Year,     the Brigadier       Commanding Officer
                                                                                                                       of of
                                                                     or




                                                                                    the Brigade      which
                                   to




                                                                                                                                                     to




                          ſuch Regiment may belong, under the Penalty                Twenty Pounds, and
                                                        the ſaid Months,                    the Magazines
                                                                                                           of




                          Ihall alſo make Return
                                                                     in




                                                                                                                                      of




                                                                               the State
                             Arms, Accoutrements and Ammunition belonging                  his Regiment
                          of




                                                                                                                                                                   or
                                                                                                                                  to




                          Battalion,                       the Magazine          Commiſſary        Military
                                                                                                                                                of




                                           the Keeper
                                                                          of




                                                                                                               or
                                              to




                                      the State for the Time being, under the Penalty               Twenty
                                    of




                                                                                                                                                 of




                          Stores
          Of Brigades. Pound;       and the Brigadier        Commanding Oſlicer          each Brigade ſhall
                                                                                                                                 of
                                                                           or




                                                                                                                                                                  ja
                                    ;




                                                              the Major-General,
                                                                                                                                                           of




                                              his Brigade
                                                      of




                           make Return                                                  the Months
                                                                                                                             in
                                                                               to




          Of theWhole nuary and Auguſ!, every Year, under the Penalty                 Twenty-five Pounds;
                                                                                                                            of




          of the Militia.
                           and the Major-General ſhall make Returns                the Governor      Com
                                                                                                                                                      or
                                                                                                                    of to




                                        Chief     the State,     the Months       February and September,
                                        in




                                                                                    of in
                                                            of




                           mander
                           every Year, under the Penalty           Fifty Pounds for each Default: Which
                                                                                                                                                     ſeveral




                                                                                                                                                                        71




                                                                                                                                                                             A22
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 44 of 59 PageID.428




                                                                              A23
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 45 of 59 PageID.429




                                                                              A24
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 46 of 59 PageID.430

                                                                                        See in general and
                                                                                        especially original
                                                                    - - - --            pp. 422, 423, 430,




                                                                                 ...
        -
        423                                                    Miłitta.                 and following



                            Court proper       try the ſame    one moiety




                                                      to




                                                                                         ;
                                                     the perſon who ſhall




                                                                   of
                                            to
                            thereof     the uſe
                                                       other moiety




                                                                                                            to
                            ſue for the  ſame, and the                and
                            for the uſe of the State.
                                         And           further enabted, That




                                                          be
                              Sec.



                                            2.




                                                                   it
                                           the duty



                                              be




                                                                          of
        ^+----proſe.           ſhall                         the officers from
                          it
        *****                                                    penalties may




                                                                                   or
                           whop) any fines, forfeitures
                                                   detained,




                                                        or




                                                                                          to
                               withholden                            colle&t the
                          ;




                                                            law,           proſe




                                                                          of




                                                                                                       to
                                      the due courſe              and
                                       in
                           fainc
                           cute for the breaches of                       manner




                                                                                                in
                                                          this  ačt
                           aforeſaid.
                                                        further enaëted, That
                                                              be
                              Sec.        And
                                            3.




                                                                   it

        “
                                                      of
                           every Juſtice         the Peace and Warden ſhall
                      ...




             -

                ..."...
                              ºn,




                               ually,       the May ſeſſion




                                                                                        of
                                                                    the General
                                                 at
      º ;
        :




                ºgral Aſſembly, make return                 the General-Trea
                                                                          to
                                                         he




                           ſurer whether            hath colle&ted any fines
                                                  during   the laſt year, and
                                    to




                           due       the State
                                        time,  and the amount and circum
                                 til




                                  that
                          u




                                                                                       to by

                                        ſuch fines,     any,     him collected,
                                            of




                           ſtances
                                                                   if




                           and ſhall   pay   over the ſame        the General

        ***    negea, ren. Treaſurer                       any  Juſtice       the
                                                                                                            of
            on




                                                                    if




                                           and that
                                              ;




                                        Warden ſhall neglect            make re
                                                                                               to to
                                         or




                           Peace
                                                     ſhall neglečl       pay over
                                                              or




                                     aforeſaid,
                                       as




                           turn
                                                                          ineligi
                                                                                                    be
                                              by




                                                                                 he




                           the fines      him   colle&ted,      ſhall



                                                                                                         I
                                                                        of




                                                          Juſtice
                                                                                               of




                                                                        the Peace
                                    to




                           ble     the ſaid office
                            or Warden.
                                                                                               of




                            An Aći               organize the Militia                               this State,
                                            to




        1718.
                                                              by




        ::::: Pre-
                                                                                                            of




                                         HEREAS                     the        Conſtitution                      the

        :::::::. power United  States, the Congreſs have
                           provide for organizing, arming
                                            to




        #.                  and diſciplining the militia, and for govern
        .#
                                                                                               be




                                                                employed
                                                      of of




                            ing ſuch part              may
                                                                          as




                                             them
        #.                     the ſervice   the United States     reſerv
                            in




                                                                                                    ;




                            ing             the States reſpectively the appoint:
                                    to




        1758.
                                                                                                                  of




                                              the officers, and the authority
                                         of




        1767.               ment
                            training the militia according                                                  diſci
                                                                                               to




                                                                                                    the
        1774.                                                                                                pline

                                                                            Wilkinson, 1798; Act,
                            R.




                                                                                               &




                   465.       I.-General Assembly; Pub. Laws, Carter
                     reenacted Jan.  1798 with marginal annotations including 1718, 1736, 1740,
                     1744, 1745, 1754, 1755, 1756, 1758,                1767, 1774, pp. 422-442.
                                                                                                                       215




                                                                                                                             A25
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 47 of 59 PageID.431




         434                                      Militia.

                           it ſhall be the duty of the Commanding Of.
                           ficer of every company to make a return of
                           the ſame to the Commandants of their re
                           ſpe&tive regiments, who ſhall make returns
                           of their reſpe&tive regiments to the Briga
                           dier-Generals: And where ſaid companies
                           or regiments are not reſpe&tively attached
                           to any regiment or brigade, returns ſhall be
                           made to the Adjutant-General.       And it
                           ſhall be the  duty of the Brigade-Major   of
                           fuch brigade, to form a brigade return, and
                           tranſmit the ſame to the Adjutant-General,
                           who ſhall, from the ſeveral returns thus
                           made, form a general return, and preſent
                           the ſame to his Excellency the Commander
                           in Chief of the State, and a copy thereof to
                           the Major-General;      and tranſmit another
                           duplicate thereof to the Preſident of the
                           United States ; and that the general return
                           aforeſaid, and the copies thereof, be made,
                             reſented and tranſmitted as aforeſaid, on
                           or before the firſt day of January, annually.
         Times,   &c. of     Sec.   9. And   be    it further   enabled,   That
         training.
                           on the firſt Wedneſday       in April, and on the
                           ſecond Wedneſday in September, in every
                           year, the militia of this State ſhall meet by
                           companies (unleſs the weather on thoſe
                           days ſhall be foul, in which caſe they ſhall
                           meet on the next fair day) for the pur
                           poſe of training, diſciplining and improving
                           them in martial exerciſe; and in the month
                           of O&tober, in every year, in regiment or
                           battalion; and that the places of rendez
                           vouzing by companies be appointed by the
                           Commanding Officers of the reſpe&tive com
                           panies; the places of regimental or bat
                           talion rendezvous, by the Commandants of
                           the regiments reſpe&tively ; and the days of
                                                                   regimentab




                                                                                  227




                                                                                        A26
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 48 of 59 PageID.432


                                                                    Militia.                                                 435




                                                                                                                   jº.
                                   regimental or battalion rendezvous, by the
                                  reſpective Brigadiers.
                                     Sec. 10. And be it further enabled, That Orders for muſ.
                                                                                          tering, by whom
                                  it ſhall be the duty of the Brigade-Major
                                  of each brigade, to furniſh a copy of




                                                                                                     of all
                                                                                     or—
                                  ders for muſter                                  regi




                                                               to
                                                         the Commandants
                                  ments within each reſpective brigade; and
                                       the Adjutant




                                  of




                                                                   of
                                                            each regiment        furniſh




                                                                                                to
                                                        all
                                     copy




                                                  of
                                                     orders for muſter from the




                                 a
                                  Commandants thereof,               the Commanding




                                                                                  to
                                                  of
                                  Cfficers       the reſpective companies.
                                     Sec. 11. And               further enailed, That Companies, how




                                                                    be

                                                                         it




                                                                                                                   to
                                                                                     any be warned.




                                                                                                      of
                                  whenever the       Commanding         Officer
                                  company ſhall receive orders from his Bri

                                 #.                                       his regiment,



                                                  or




                                                                                         of
                                               the Commandant
                                      ſhall iſſue his warrant for the aſſembling
                                 of e

                                      his company,         leaſt ten days before the




                                                                   at
                                         appointed    for  muſter,




                                                                                                 or to
                                  time                                direéted       one
                                                                                    offi
                                 or



                                      more non-commiſſioned officer




                                                                                        or by
                                  cers, private         privates,         him ſpecially
                                  appointed, requiring him    or




                                                                                                     to
                                                                         them      warn
                                                  of


                                                 ſaid company, either           general




                                                                                                in
                                 the men
                                                                                      aſ
                                                                    be
                                         diſtrićts,         by him aſſigned,
                                 or




                                                              to




                                                                                                        to
                                        in




                                 ſemble,                              place  appointed
                                                  at




                                                 the time and
                                 therein, equipped according                        And

                                                                                          to
                                                                           law.
                                 the warning officer aforeſaid ſhall warn the
                                                                                   by
                                 men        aforeſaid, either          perſonal notice,
                                             as
                                        by




                                                                                                              of
                                          leaving word          their uſual places
                                 or




                                                                         at




                                 abode, ſix days before, and ſhall return his
                                                                                   of



                                 warrant, with the name                every man


                                                                                                              ſo
                                 warned,                      Commanding        Officer,
                                                   to




                                                  the ſaid
                                                                                   of




                                 one day before the day                 aſſembling,
                                                                                                              as
                                 aforeſaid.
                                     Sec. 13. And              further enaëled, That Poſt
                                                                   be
                                                                        it




                                                                                                  captains

                                       Commanding                                        aud companies.                 of
                                                                                         of




                                 the                      Officers         the ſeveral
                                 companies
                                                        of




                                                    militia       this State ſhall take
                                                                             in




                                                                         their reſpec
                                                                                       of




                                 poſt according
                                                               to




                                                        the dates
                                 tive commiſſions, and that their companies
                                                                                   ſhall




                  228




                                                                                                                             A27
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 49 of 59 PageID.433




         436                                               Militia.

                               ſhall take poſt with them in the ſame ſta

         5.
         jºif,
                               tion when on parade.
                                  Sec. 13. And be it further enaited, That

         :* **,
                               when the militia, or any part of them, ſhall
            -                  be aſſembled together for review or train
                               ing, it ſhall be in the power of the Com
                                                                     diſor




                                                                                              all
                               manding Officer preſent to puniſh
                                                        military order and
                                         or




                                                                byin of
                               ders,      breaches
                               diſcipline, whether    non-commiſſioned of
                                         privates,      immediately puttin
                                         or


                               ficers




                                                                                                              at by .#
                               the offender under guard, for       ſpace




                                                                                         a
                               time not exceeding twelve hours,




                                                                                                    or
                               fining him, not exceeding ſix dollars,
                                                                                                            Of
                                                      of


                               the diſcretion     the ſaid Commanding




                                                                                                   by
                               ficer; which fine ſhall                    be
                                                                                certified                   the
                               officer inflicting the ſame,   ſome one Juſ     to
                                      of




                               tice    the Peace, and colle&ted, paid over
                               and appropriated,                   the manner preſcribed
                                                            in




                               by the fifteenth ſe&tion
                                                                           of



                                                                         this act.   And
                                    any commiſſioned

                                                                                                              in
                                                                     officer ſhall behave
                               if




                                 diſorderly     inſolent manner, when the
                                                     or
                               a




                               militia,
                                                                of




                                                                                              be


                                          any part     them, ſhall
                                            or




                                                                   aſſem
                                        aforeſaid, the ſaid officer ſhall be
                                       as




                               bled
                               liable to be arreſted and tried for ſuch be



            i.
                               haviour by     Court-Martial, and      found
                                                                                          if
                                                 a




                                                                                                                  -
                                                     be




                               guilty, ſhall              broken.
                                  Sec. 14. And            further enalted, That
                  for




                                                           be




         fine;
                                                                it




                        non-
                               every non-commiſſioned officer              private,
                                                                                         or




                                                                            firſt le
        -




                                             neglect     appear   (being
                                                            to




                               who ſhall
                               gally warned)        the regimental
                                                                                         or




                                                                         battalion
                                                      at




                               rendezvous, ſhall forfeit two dollars for
                                                ſuch neglett; and every one
                                                 of




                               every day
                               who ſhall neglect         appear (being firſt le
                                                            to




                               gally warned)         the company parade, ſhall
                                                      at




                               forfeit one dollar and fifty cents for every
                 ºir,
            **
                                                                                    he




                                                                                                              be
                                      of




                               day       ſuch negle&t; and
        i.




                                                                      ſhall not
                                                                               if



                                                                                                   in the




                               armed and equipped according
                                                                                          to




                                                                                 ſaid
                                       Congreſs,              appearing,
                                    of




                                                                          ſo




                               aćt                 when                          caſe
                               he




                                   ſhall have reſided      this State ſix
                                                                  in




                                                                                              mºnº          31)




                                                                                                                         229




                                                                                                                               A28
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 50 of 59 PageID.434


                                                                   Militia.
                                                                                                                      437

                                 and ſhall not, within ten days after ſuch
                                 rendezvous or parade, produce to the Com
                                 manding Officer of his company a certifi
                                 cate from the Clerk of the Town-Council
                                 of the town, that he had been adjudged by
                                 ſaid Town-Council unable to arm       equip               .#
                                 himſelf, he ſhall, for appearing without a

                                  É.   forfeit twenty-five cents ; without a
                                   ayonet and belt, eight cents ; without a
                                 cartouch-box and cartridges, eight cents ;
                                 without a knapſack, four cents ; and with
                                 out flints, priming-wire and bruſh, four
                                  CentS.




                                                                                                                      hºw

                                                                                                                            “l.
                                      Sec. 15. And be it further ena:led, That Figº,
                                      the expiration                                                             “.


                                                                   of
                                  at                         ten days after ſuch ren-
                                                  parade,    the Commanding Offi



                                                  or
                                  dezvous
                                       of  every    company      ſhall deliver




                                                                                               to
                                  cer                                                ſome


                                                        of
                                  one Juſtice        the Peace, reſiding




                                                                                          in
                                                                                the ſame
                                                                                  the re

                                                              of




                                                                                           of
                                  town,      copy       his warrant, and
                                            a
                                       at a of



                                  turn      the warning officer thereon, together
                                                                            not appear
                                                      of
                                  with liſt        the delinquents,




                                                                                  in
                                  ing                                 parade



                                                                             or
                                                                                    afore




                                                                                           as
                                           the rendezvous
                                  ſaid, and
                                                      in of



                                                    the delinquents,          not being




                                                                                    in
                                  equipped          the articles enumerated




                                                                                                    in
                                                                                       the
                                                                                   the ar
                                                                    of




                                                                                           of
                                     receding ſe&tion          this ačt, and
                                            of




                                  ticles       equipment aforeſaid           which they
                                                                                  of in
                                  ſhall have been deficient, and           ſuch offend
                                                                                 fine, by
                                             of he




                                               ſhall fine,
                                                                    or




                                  ers                          ſhall incur
                                       as




                                               the proviſions                              a
                                                                             of




                                                                                                             or
                                  virtue                               the thirteenth
                                                                        of




                                  eighteenth ſe&tion               this ačt, who ſhall
                                  not have paid their fines
                                                                             to




                                                                     ſaid Commandin
                                   Officer, or ſhall not have rendered
                                                                                               to

                                                                                    him
                                   ſatisfactory excuſe for their delinquencies                               a
                                                                                                             :
                                                                the Peace ſhall, within
                                                                     of




                                   and the ſaid Juſtice
                                                               he




                                   ten  days   after       ſhall have received ſuch
                                   copy and liſt from ſuch Commanding Officer,
                                                                                   to of




                                   iſſue his warrant againſt each            ſuch delin
                                   quents       offenders, dire&ted          the Town
                                                 or




                                  Sergeant or either of the Conſtables of ſaid
                                                                                                         -
                                                                                                    to
                                                                                                    •


                                                                                                         j
                                                                                                             ły
                                                                                                         W




                    230




                                                                                                                      A29
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 51 of 59 PageID.435




                                                                              A30
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 52 of 59 PageID.436




                                                                              A31
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 53 of 59 PageID.437




                                                                              A32
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 54 of 59 PageID.438




                                                                              A33
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 55 of 59 PageID.439




                                                                              A34
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 56 of 59 PageID.440




                                                                              A35
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 57 of 59 PageID.441




                                                                              A36
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 58 of 59 PageID.442




                                                                              A37
Case 1:19-cv-00578-JMS-RT Document 64-1 Filed 08/19/20 Page 59 of 59 PageID.443




                                                                              A38
